                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

DENNIS MURPHY, Guardian Ad Litem
For N.E. D., an incapacitated minor; JACOB DOTSON;
DOMINIQUE BILLY, individually and as next friend of I.C.
and S.D., minors,

       Plaintiffs,                           No. 1:17-cv-00384-JAP-JHR

vs.

THE UNITED STATES OF AMERICA,

       Defendant.

      PLAINTIFFS’ MOTION TO COMPEL, OR ALTERNATIVELY, TO STRIKE
                   DEFENDANT’S AFFIRMATIVE DEFENSES

       Plaintiffs, by and through their undersigned counsel, pursuant to Fed. R. Civ. P. Rules

26(b)(1), 33(a)(2) and 37(a)(3)(B)(iii)(4) and D.N.M. LR-Civ 26.6 and 37.1, respectfully move

this Court to compel Defendant, The United States of America (“USA”), to provide an adequate

answer to Plaintiffs’ Interrogatory No. 14, attached hereto as Exhibit A. Alternatively, if USA

cannot provide an adequate answer to Interrogatory 14, Plaintiffs respectfully request the Court

strike USA’s Affirmative Defenses alleged in its Answer to the First Amended Complaint

(“Answer”) [Doc. 55]. In support, Plaintiffs state as follows:

                               I. SUMMARY OF ARGUMENT

       Interrogatory No. 14 is narrowly focused seeking “facts, evidence and theories” that

support each of the eleven Affirmative Defenses stated in USA’s Answer. The Interrogatory was

propounded after extensive discovery had already been developed with the specific purpose of

ascertaining a substantive understanding of what exactly USA would rely upon in defending this




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case. Rather than answer this Interrogatory, however, USA claimed it was an overly broad and

unduly burdensome “contention” interrogatory that USA had no obligation to answer. Id.

            The Court should compel USA to answer Interrogatory 14 for three reasons. First, USA

cannot avoid its discovery obligations based on inapplicable objections and a legally flawed

insinuation that contention interrogatories are prohibited. Contrary to USA’s position, contention

interrogatories are not disfavored, much less prohibited. Interrogatory 14 expressly conforms to

the elements required to establish a contention interrogatory is permitted at law.

            In fact, and as a second basis for granting the Motion, federal law is clear that when

discovery is substantially completed, a contention interrogatory seeking to clarify the basis for a

claim is appropriate. As such, USA’s objection is baseless. Under the plain language of F. Rule.

Civ. P. Rule 33, Plaintiffs are entitled to an answer to a proper contention interrogatory.

            As a third reason, to deny Plaintiffs’ Motion would cause undue prejudice to Plaintiffs and

result in judicial inefficiency. If USA is in possession of responsive and discoverable evidence that

it has not provided, Plaintiffs will not be prepared to respond to such evidence at trial, thus causing

Plaintiffs undue prejudice. Conversely, if USA is not in possession of any evidence to support an

affirmative defense, without court intervention, Plaintiffs would spend time preparing a response

to a futile affirmative defense that is abandoned by the USA. This time would otherwise be spent

in preparation of other aspects of prosecuting the claims.           As such, the red herring of an

unsupported affirmative defense would prejudice Plaintiffs. It would also waste the Court’s time

at trial.

            Discovery now being complete, the time is ripe for responsive answers. Either the USA is

in possession of facts, evidence and theories that support its Affirmative Defenses that it must

provide to Plaintiffs under the liberal rules of discovery or the USA has discovered no evidence in




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support of its Affirmative Defenses, making them futile and warranting them being struck from

USA’s Answer.

                                    II. LEGAL STANDARD

A. Liberal Rules of Discovery Compel an Answer to Interrogatory 14.

       Discovery under Fed.R.Civ.P. Rule 26 is liberal, allowing parties the right to “obtain

discovery regarding any matter, not privileged, that is relevant to the claim or defense of any party

and proportional to the needs of the case....” Fed. R. Civ. P. 26(b)(1). Relevant information need

not be admissible in evidence to be discoverable. Id. This principle of broad discovery is intended

to allow the parties to learn as much as they can about each other's claims and defenses before

trial. See Herbert v. Lando, 441 U.S. 153, 177 (1979) (“The Court has more than once declared

that the discovery rules are to be accorded a broad and liberal treatment to affect their purpose of

adequately informing the litigants in civil trials.”); Gomez v. Martin Marrietta Corp., 50 F.3d

1511, 1520 (10th Cir. 1995) (“the scope of discovery under the federal rules is broad”); Sanchez

v. Matta, 229 F.R.D.649, 654 (D.N.M. 2004)(Browning, J.)(“The federal courts have held that the

scope of discovery should be broadly and liberally construed to achieve the full disclosure of all

potentially relevant information.”). The federal discovery rules are a reflection of Congress'

recognition that “[m]utual knowledge of all the relevant facts gathered by both parties is essential

to proper litigation.” Hickman v. Taylor, 329 U.S. 495, 507 (1947).

B. Contention Interrogatories are permitted.

       Contention interrogatories are interrogatories that seek to clarify the basis for an

adversary's claims. See Lucero v. Valdez, 240 F.R.D. 591, 594 (D.N.M. 2007) citing Starcher v.

Corr. Med. Sys. Inc., 144 F.3d 418, 421 n. 2 (6th Cir.1998), aff'd sub nom. Cunningham v.

Hamilton County, 527 U.S. 198, 119 S.Ct. 1915, 144 L.Ed.2d 184 (1999).                   Contention



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interrogatories, which have never been “categorically prohibited”, ask another party “to state all

the facts on which it bases its contentions, to state all the evidence on which it bases its contentions,

or to explain how the law applies to the facts.” Lucero, 240 F.R.D. at 593-594 citing McCarthy v.

Paine Webber Group, Inc., 168 F.R.D. 448, 450 (D.Conn.1996).

        However, contention interrogatories that ask for “each and every fact” are an abuse of the

discovery process because they are overly broad and unduly burdensome. Lucero, 240 F.R.D. at

594 citing IBP, Inc. v. Mercantile Bank of Topeka, 179 F.R.D. 316, 321 (D.Kan.1998). To that

end, contention interrogatories should not require a party “to provide the equivalent of a narrative

account of its case, including every evidentiary fact, details of testimony of supporting witnesses,

and the contents of supporting documents.” See Lucero, 240 F.R.D. at 594 citing Hiskett v. Wal–

Mart Stores, Inc., 180 F.R.D. 403, 404 (D.Kan.1998).

        Conversely, contention interrogatories may certainly ask for the material or principal facts

that support a party's contentions. See Hiskett, 180 F.R.D. at 405.         There is also considerable

support for compelling answers to contention interrogatories after a substantial amount of

discovery has been completed, at which point such discovery might reveal that a claim made at

the pleading stage has turned out to be futile. See Fed.R.Civ.P. 33(c); McCarthy, 168 F.R.D. at

450. Indeed, even courts that have been critical of overly broad contention interrogatories

uniformly recognize the important benefits that result from clarifying and narrowing the issues in

litigation at the close of discovery and before trial. See IBP, Inc., 179 F.R.D. at 321–23; see also

Roberts v. Heim, 130 F.R.D. 424, 427 (N.D.Cal.1989); In re Convergent Tech. Sec. Litig., 108

F.R.D. 328, 337 (N.D.Cal.1985).




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                                         III. ARGUMENT

A. USA should be compelled to respond to Interrogatory 14.

       The Court should compel USA to answer Interrogatory 14 because Interrogatory 14 is

allowed under the Rules, is not overly broad and not unduly burdensome. First, Rule 33 of the

Federal Rules of Civil Procedure expressly recognizes and permits the use of contention

interrogatories. See Fed. R. Civ. P 33(c) (stating “[a]n interrogatory otherwise proper is not

necessarily objectionable merely because an answer to the interrogatory involves

a[] contention that relates to fact or the application of law to fact”)(emphasis added). As such,

Plaintiffs have a legal right to ask USA “to indicate what it contends, to state all the facts on which

it bases its contentions, to state all the evidence on which it bases its contentions, and explain how

the law applies to the facts.” Lucero, 240 F.R.D. at 594.

       Furthermore, in seeking this information in Interrogatory 14, Plaintiffs conformed to the

requirements for a proper contention interrogatory this negating USA’s claims that it is unduly

burdensome and overly broad. Interrogatory 14 was propounded after discovery was substantially

completed as required under Lucero v. Valdez. 240 F.R.D. at 594. As such, any responsive

information is already in USA’s possession. Id., (stating “Since discovery should be substantially

completed on those issues by now, Defendants' contention interrogatories that seek to clarify the

basis for and scope of Lucero's claims are appropriate at this time.”)

       Additionally, Interrogatory 14 is not unduly burdensome or overly broad because it does

not ask for “each and every fact and application of law to fact that supports the party's allegations”.

See Steil v. Humana Kansas City, Inc., 197 F.R.D. 445, 447 (D. Kan. 2000) (noting that “to require

specifically ‘each and every’ fact and application of law to fact ... would too often require a

laborious, time-consuming analysis, search, and description of incidental, secondary, and perhaps




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irrelevant and trivial details.”) Nor does Interrogatory 14 ask USA to “provide the equivalent of a

narrative account of its case, including every evidentiary fact, details of testimony of supporting

witnesses, and the contents of supporting documents” which could be construed as overly broad

and unduly burdensome. See Lucero, 240 F.R.D. at 594 citing Hiskett v. Wal–Mart Stores, Inc.,

180 F.R.D. 403, 404 (D.Kan.1998).

       Instead, Interrogatory 14 merely identifies the eleven Affirmative Defenses set out in

USA’s Answer and narrowly requests that USA “state what facts, evidence, and theory(ies)” that

support each one. For example, USA’s first affirmative defense is that it is immune from suit for

vicarious liability under the Federal Torts Claim Act (“FTCA”). See Exhibit A at Interrogatory

14(1). Yet, it is settled law that the FTCA allows tort claims against a health care practitioner

providing services in a facility operated by the Indian Health Services pursuant to a personal

services contract, which directly contradicts USA’s affirmative defense of immunity. See Tsosie

v. United States, 452 F.3d 1161, 1167 (10th Cir. 2006). Plaintiffs are entitled to any know what

facts or evidence in USA’s knowledge contradict Tsosie and make USA immune here.

       In sum, in propounding the single contention interrogatory, Plaintiffs simply seek to

determine if they will need to refute USA’s affirmative defenses, or to determine if USA can

support the affirmative defense at all. USA need not provide a “narrative account” of each of the

eleven Affirmative Defenses in response to this interrogatory, but it should be compelled to set

forth facts supported by evidence that go to each affirmative defense now that discovery is

completed on those issues. Compelling answers to this narrow discovery request is mandated by

the very purpose of contention interrogatories, which is to “narrow and define issues for trial and

to enable the propounding party to determine the proof required to rebut the respondent's position.”

See Steil, 197 F.R.D. at 447.




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B. The Court should strike any affirmative defenses that USA cannot support.

       If USA is unable to provide a substantive response to Interrogatory 14 in support of any of

the eleven Affirmative Defenses, even after being compelled to do so, then the Court and Plaintiffs

must assume USA has no basis to assert that specific affirmative defense. Should such occur,

Plaintiffs request the Court strike any individual affirmative defenses for which USA cannot

provide facts, evidence or a legal theory that would support such a defense. The Federal Rules

allow the Court to “strike from a pleading an insufficient defense” own its own accord or in

response to a party’s motion. See F. R. Civ. P 12(f).

C. USA does not concur with this Motion and has refused to supplement in good faith.

       Plaintiffs’ counsel unsuccessfully sought good faith cooperation pursuant to Fed. R. Civ.

P. Rule 37 and concurrence pursuant to D.N.M. LR-Civ 7.1 prior to filing this motion. See Letter

from Barudin Law Firm, dated April 23, 2018, attached hereto as Exhibit B. There has been no

written response, via email or letter, for over two weeks as of the time of filing this Motion.

Inasmuch as the deadline for discovery motions is currently set for May 14, 2018, Plaintiffs have

timely filed this motion.

                                          CONCLUSION

       WHEREFORE, Plaintiffs respectfully request the Court compel Defendant USA to provide

a substantive response to Interrogatory 14, or alternatively to strike any affirmative defenses listed

in USA’s Answer that it cannot support, and for any such further relief the Court deems proper.

                                               Respectfully submitted,

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                CERTIFICATE OF SERVICE
         I hereby certify that on this 8th day of May, 2018, I served all parties and counsel with
 the foregoing pleading via CM/ECF system, electronic mail, and first class United States mail
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